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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


  KEVIN JOHNSON,

                         Plaintiff,

  v.                                                 Civil Case No. 3:24-cv-00080

  VIRGINIA DEPARTMENT OF
  CORRECTIONS, et al.,

                         Defendants.


                                               Notice

        In accordance with this Court’s Order on June 4, 2025, the undersigned are filing this

 Notice that they do not represent the Plaintiff in this matter anymore.

 Date: June 5, 2025


                                               Respectfully submitted,

                                               By:   /s/ Mark J. Krudys

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                                          Certificate of Service

        I hereby certify that on this 5th day of June 2025, I will electronically file the foregoing

 with the Clerk of the Court using the CM/ECF system, which will then send notification of such

 filing (NEF) to all counsel of record.


                                                 By: /s/ Mark J. Krudys

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